                                                              IT IS ORDERED
                                                              Date Entered on Docket: October 28, 2021




                                                              ________________________________
                                                              The Honorable Robert H Jacobvitz
                                                              United States Bankruptcy Judge
______________________________________________________________________
                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF NEW MEXICO

IN RE:

MEGHAN L. CORCORAN                                  Case No. 7-18-12375-JA
SSN/ITIN: xxx-xx-1827
fdba Stargate Healing, LLC

                         Debtor.

 DEFAULT ORDER GRANTING MOTION FOR RELIEF FROM AUTOMATIC STAY AND
 FOR ABANDONMENT OF PROPERTY LOCATED AT 1 SPRING CT. EDGEWOOD, NEW
                           MEXICO 87015

         This matter came before the Court on the Motion for Relief from Automatic Stay for the

Abandonment of Property to Specialized Loan Servicing, LLC, filed on August 20, 2021, (DOC 48)

(the “Motion”) by Specialized Loan Servicing, LLC (“SLS”). The Court, having reviewed the record

and the Motion, and being otherwise sufficiently informed, FINDS:

         (a)       On August 20, 2021, SLS served the Motion and a Notice of Deadline to Respond to the

Motion (the “Notice”) on Jason Michael Cline, Attorney for Debtor and Yvette J. Gonzales, Trustee

(the “Trustee”) by use of the Court’s case management and electronic filing system for the

transmission of notices, as authorized by Fed.R.Civ.P. 5(b)(3) and NM LBR 9036-1, and on the Debtor




5029-1522-B 7713057.docx map
     Case 18-12375-j7          Doc 56   Filed 10/28/21    Entered 10/28/21 16:42:33 Page 1 of 5
Meghan L. Corcoran, by United States first class mail, in accordance with Bankruptcy Rules 7004 and

9014.


         (b)       The Motion relates to the property located at 1 Spring Ct. Edgewood, New Mexico

87015, more fully described as:

                   Tract S-C-1 all as shown on plat entitled "Land Division of the Lands of
                   Jerry and Donna Stephens being Tracts S-C of Lands of Margie
                   Kennedy, located in the Southwest 1/4 of Section 35, Township 10
                   North, Range 7 East, N.M.P.M.", filed In the office of the County Clerk,
                   Santa Fe County, New Mexico on July 27, 1995, all as shown on Plat of
                   Survey recorded in Plat Book 311, page 032, records of Santa Fe
                   County, New Mexico,

including any improvements, fixtures, and attachments, such as, but not limited to, mobile homes (the

“Property”). If there is a conflict between the legal description and the street address, the legal

description shall control.

         (c)       The Notice provided for an objection deadline of 21 days from the date of service of the

Notice, to which three days was added pursuant to Bankruptcy Rule 9006(f);

         (d)       The Notice was sufficient in form and content;

         (e)       The objection deadline expired on September 13, 2021;

         (f)       As of October 14, 2021, neither the Debtor’s counsel nor the Trustee, nor any other

party in interest, filed an objection to the Motion;

         (g)       The Motion is well taken and should be granted as provided herein; and

         (h)       By submitting this Order to the Court for entry, the undersigned counsel for SLS

certifies under penalty of perjury that, on the date this Order was presented Rose L. Brand &

Associates, P.C. searched the data banks of the Department of Defense Manpower Data Center

(“DMDC”), and found that the DMDC does not possess any information indicating that the Debtor is

currently on active military duty of the United States.

         IT IS THEREFORE ORDERED:


5029-1522-B 7713057.docx map                        2
     Case 18-12375-j7          Doc 56    Filed 10/28/21    Entered 10/28/21 16:42:33 Page 2 of 5
         1.        Pursuant to 11 U.S.C. §362(d), SLS and any and all holders of liens against the

Property, of any lien priority, are hereby are granted relief from the automatic stay:

                 (a)           To enforce its rights in the Property, including foreclosure of liens and a

foreclosure sale, under the terms of any prepetition notes, mortgages, security agreements, and/or other

agreements to which Debtor is a party, to the extent permitted by applicable non-bankruptcy law, such

as by commencing or proceeding with appropriate action against the Debtor or the Property, or both, in

any court of competent jurisdiction; and

                   (b)         To exercise any other right or remedy available to it under law or equity with

respect to the Property.

         2.        The Trustee is deemed to have abandoned the Property from the estate pursuant to 11

U.S.C. §554 as of the date of entry of this Order, and the Property therefore no longer is property of the

estate. As a result, SLS need not name the Trustee as a defendant in any state court action it may

pursue to foreclosure liens against the Property and need not notify the Trustee of any sale of the

Property.

         3.        The automatic stay is not modified to permit any act to collect any deficiency or other

obligation as a personal liability of the Debtor, in the event that a discharge order is entered. The

Debtor can be named as a defendant in litigation to obtain judgment or to repossess the Property in

accordance with applicable non-bankruptcy law, pursuant to any discharge order entered.

         4.        This Order does not waive SLS’s claim against the estate for any deficiency owed by

the Debtor after any foreclosure sale or other disposition of the Property. SLS may filed an amended

proof of claim this bankruptcy case within thirty (30) days after a foreclosure sale of the Property,

should it claim that Debtor owe any amount after the sale of the Property.

         5.        This Order shall continue in full force and effect if this case is dismissed or converted to

a case under another chapter of the Bankruptcy Code.



5029-1522-B 7713057.docx map                           3
     Case 18-12375-j7              Doc 56    Filed 10/28/21    Entered 10/28/21 16:42:33 Page 3 of 5
         6.        This order is effective and enforceable upon entry. The 14-day stay requirement of

Fed.R.Bankr.P. 4001(a)(3) is waived.

         7.        SLS is further granted relief from the stay to engage in loan modification discussions or

negotiations or other settlement discussions with the Debtor and to enter into a loan modification with

the Debtor.

                                        XXX END OF ORDER XXX




5029-1522-B 7713057.docx map                        4
     Case 18-12375-j7          Doc 56    Filed 10/28/21     Entered 10/28/21 16:42:33 Page 4 of 5
RESPECTFULLY SUBMITTED:

ROSE L. BRAND & ASSOCIATES, P.C.

__/s/Elizabeth Dranttel e-signed____
ELIZABETH DRANTTEL
Attorney for SLS
7430 Washington NE
Albuquerque, NM 87109
Telephone: (505) 833-3036
elizabeth.Dranttel@roselbrand.com

Copied to:

Meghan L. Corcoran
1 Spring Ct
Edgewood, NM 87015

Jason Michael Cline
Attorney for Debtor(s)
2601 Wyoming Blvd. NE, Ste. 108
Albuquerque, NM 87112
Telephone: (505) 595-0110
jason@attorneyjasoncline.com

Yvette J. Gonzales
Trustee
PO Box 1037
Placitas, NM 87043-1037
Telephone: (505) 771-0700
yjgllc@yahoo.com




5029-1522-B 7713057.docx map                     5
     Case 18-12375-j7          Doc 56   Filed 10/28/21   Entered 10/28/21 16:42:33 Page 5 of 5
